                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 EDWARD DIMARIA,

                Petitioner,
                                                           Civil Action No. 20-cv-10996-GAO
 v.

 STEPHEN SPAULDING,
 Warden of Federal Medical Center Devens,

                Respondent.


           RESPONDENT’S MOTION TO DISMISS EMERGENCY PETITION
                 FOR HABEAS CORPUS UNDER 28 U.S.C. § 2241

       Petitioner Edward DiMaria (“Petitioner”) has filed an Emergency Petition for Habeas

Corpus Under 28 U.S.C. § 2241 (“Petition”). Petitioner seeks an immediate bail hearing and

release to home confinement. ECF No. 1 at ¶¶ 1, 20. Petitioner claims that the conditions of

incarceration at FMC Devens are conducive to the spread of COVID-19, and because he is a 54

year old male who suffers from hypertension, with a history of heart syncope, loss of consciousness

associated with hypertension, and an elevated risk of stroke and heart attack, his age and

underlying medical conditions place him at an elevated risk for contracting the virus. Id., at ¶¶ 5,

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       Respondent moves for dismissal of Petitioner’s claims, pursuant to Fed. R. Civ. P. 12(b)(1)

and (b)(6), which are without merit and fail on several grounds. First, Petitioner’s challenge to

conditions of his confinement by a habeas petition under 28 U.S.C. § 2241 is improper. Crooker

v. Grondolsky, No. 12-12106-GAO, 2013 WL 101588, at *2 (D. Mass. Jan. 4, 2013); see also

Nelson v. Campbell, 541 U.S. 637, 643 (2004). Second, the Prison Litigation Reform Act

(“PLRA”), 18 U.S.C. § 3626, places strict limitations on a court’s ability to order the release of
inmates “in any civil action in Federal court with respect to prison conditions …” and precludes

a single district judge from doing so, as Petitioner requests. 18 U.S.C. § 3626(a)(3)(B). Third,

Petitioner has not and cannot establish that Respondent has been deliberately indifferent to

Petitioner’s medical needs. As explained further in the memorandum of law filed herewith, FMC

Devens has taken appropriate steps to mitigate the risk of COVID-19 throughout its inmate

population, including implementing the BOP’s national response to prevent the introduction and

spread of COVID-19 into the BOP, and implementing a number of other measures at FMC Devens

including providing inmate and staff education; conducting inmate and staff screening; putting

into place testing, quarantine, and isolation procedures in accordance with BOP policy and CDC

guidelines; ordering enhanced cleaning and medical supplies; and taking a number of other

preventative measures.

       For these reasons, as more fully set forth in the accompanying memorandum of law,

Respondent asks this Court to dismiss the Petition.


                                             Respectfully submitted,

                                             ANDREW E. LELLING
                                             United States Attorney


                                      By:    /s/ Rayford A. Farquhar
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Dated: June 2, 2020                          Rayford.Farquhar@usdoj.gov




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                               CERTIFICATE OF SERVICE

        I, Rayford A. Farquhar, Assistant United States Attorney, hereby certify that this document
filed through the ECF system will be sent electronically to the registered participants as identified
on the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants by First Class Mail.

                                                      /s/ Rayford A. Farquhar
                                                      Rayford A. Farquhar
Dated: June 2, 2020                                   Assistant United States Attorney



                             LOCAL RULE 7.1 CERTIFICATION

       I, Rayford A. Farquhar, hereby certify that pursuant to L.R. 7.1(a)(2), I was unable to confer
with counsel for Petitioner in order to narrow or resolve the issues raised by this motion.


                                                      /s/ Rayford A. Farquhar
                                                      Rayford A. Farquhar
Dated: June 2, 2020                                   Assistant U.S. Attorney




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